                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                              NORTHERN DIVISION

 Robert C. Prince,                        )
                                          )
       Plaintiff,                         )
                                          )
 v.                                       )      Case No. ________________
                                          )
 Gearbox Software, L.L.C.,                )      JURY DEMAND
 Gearbox Publishing, LLC,                 )
 Randy Pitchford, and                     )
 Valve Corporation,                       )
                                          )
       Defendants.                        )

                                      COMPLAINT

       1.      Plaintiff, Bobby Prince, is a renowned composer and sound designer who

 has created music and sound effects for some of the most popular video games of all

 time, including Doom, Doom II, Wolfenstein 3D, and Duke Nukem 3D. The video game

 community recognizes his iconic music as an essential part of the games, and his peers

 have given him a lifetime achievement award. Mr. Prince’s music has transcended the

 video game platform, and many bands have performed and covered his songs.

       2.      Defendants, Gearbox Software, L.L.C. (“Gearbox Software”) and Gearbox

 Publishing, LLC (“Gearbox Publishing”) (together “Gearbox”), used Mr. Prince’s music

 in Duke Nukem 3D World Tour without obtaining a license and without compensating

 Mr. Prince.   Defendant, Randy Pitchford, the Chief Executive Officer of Gearbox,

 admitted that Mr. Prince created and owns the music and that Gearbox had no license.

 Incredibly, Mr. Pitchford proceeded to use the music without compensation and refused

 to remove the music from the game.

                                           1

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 1 of 10 PageID #: 1
       3.     Defendant, Valve Corporation (“Valve”), distributed infringing copies of

 Mr. Prince’s music. Valve ignored a takedown notice, thus waiving any immunity under

 the Digital Millennium Copyright Act (“DMCA”), and continued distributing infringing

 copies of the music despite knowing that Mr. Prince owned the copyrights in the music.

                                          Parties

       4.     Mr. Prince is a composer and sound designer who is domiciled in Sevier

 County, Tennessee. He is the author of the music covered by copyright registration

 number SR221-908 and solely owns the rights to such music.

       5.     Gearbox Software is a Texas limited liability company with its principal

 place of business in Texas that develops video games.

       6.     Gearbox Publishing is a Texas limited liability company with its principal

 place of business in Texas and a subsidiary of Gearbox Software that develops, publishes,

 and/or distributes video games.

       7.     Mr. Pitchford, who is domiciled in Texas, is the president and CEO of

 Gearbox and one of its founders. Given his position, Mr. Pitchford had the right and

 ability to supervise the infringing activities of Gearbox Software and Gearbox Publishing

 and, based upon his personal interactions with Mr. Prince and the individuals responsible

 for developing and distributing Duke Nukem 3D World Tour, Mr. Pitchford actually

 exercised such rights. He and his companies profited from their infringement. Further,

 Mr. Pitchford had knowledge of his companies’ infringement of Mr. Prince’s music and,

 through his role as president and CEO, materially contributed to that infringement.



                                             2

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 2 of 10 PageID #: 2
          8.    Valve is a Washington corporation with its principal place of business in

 Washington. Valve distributed digital copies of Duke Nukem 3D World Tour via its

 distribution platform called “Steam.”

                                  Jurisdiction and Venue

          9.    Mr. Prince asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq.,

 and federal-question jurisdiction exits pursuant to 28 U.S.C. § 1331.       Additionally,

 diversity jurisdiction exists pursuant to 17 U.S.C. § 1332 because the parties are diverse

 and the amount in controversy exceeds more than $75,000, exclusive of interest and

 costs.

          10.   Personal   jurisdiction   exists   because   Defendants   knowingly    and

 purposefully directed their tortious conduct at and caused harm to a citizen of East

 Tennessee. Pitchford, Gearbox Software, and Gearbox Publishing have purposefully

 distributed infringing copies of Duke Nukem 3D World Tour in East Tennessee, including

 through internet and brick-and-mortar retailers. Before doing so, they knew that the game

 included Mr. Prince’s music, knew that they had not paid Mr. Prince for such music,

 knew that Mr. Prince lived in East Tennessee, and knew that he would be harmed in East

 Tennessee if they used his music without payment.

          11.   Valve purposefully distributed copies of Duke Nukem 3D World Tour in

 East Tennessee, including through its online games outlet and its distribution platform

 called “Steam.”     Through its “Steam” distribution platform where East Tennessee

 customers download a copy of Duke Nukem 3D World Tour, Valve specifically intended

 to interact with and solicit the business of East Tennessee residents. Valve continued

                                               3

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 3 of 10 PageID #: 3
 distributing copies of Duke Nuke 3D World Tour after being notified that the game

 included the unauthorized use of Mr. Prince’s music and after being notified that Mr.

 Prince lived in East Tennessee.

       12.    Additionally, Defendants purposefully advertised and promoted Duke

 Nukem 3D World Tour in East Tennessee, including via their interactive websites, which

 they expected would be viewed by individuals in East Tennessee, and via traditional

 advertising in brick-and-mortar stores or publications. Defendants have profited from the

 infringing goods they sold and distributed in East Tennessee. Defendants have also

 purposefully distributed and promoted multiple other games in East Tennessee.

       13.    Venue exists under 28 U.S.C. § 1391(a)(b)(2) and 28 U.S.C. § 1400(a).

                                   Factual Background

 I.    Mr. Prince created music and sound effects for Duke Nukem 3D.

       14.    Apogee Software, Ltd. (“Apogee”) developed and published the original

 Duke Nukem in 1991. For the last 29 years, multiple games based upon Duke Nukem

 have been sold and released. A version called Duke Nukem 3D was released to critical

 acclaim in 1996 and was praised for its unique risqué humor and the manner in which it

 satirizes Hollywood action movies. It was the most popular version of the game and is

 considered by many in the industry to be responsible for popularizing first-person

 shooters.

       15.    Mr. Prince created music, sound effects, and dialog recordings for Duke

 Nukem 3D. Pursuant to a Software Publishing Agreement with Apogee, Apogee had a



                                            4

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 4 of 10 PageID #: 4
 limited right to use Mr. Prince’s music in Duke Nukem 3D in exchange for a royalty

 equal to $1 per unit sold.

        16.    Mr. Prince registered the copyrights for his music in 1996 and received

 Certificate of Registration SR221-908.     All sixteen songs Mr. Prince registered were

 included in Duke Nukem 3D.

        17.    In 1996, Apogee released Duke Nukem 3D, which included 16 copyrighted

 songs, sound effects, and edited dialog created by Mr. Prince.

        18.    Apogee never owned the music Mr. Prince composed and that was included

 in Duke Nukem 3D.

 II.    Gearbox used Mr. Prince’s music without compensation.

        19.    Upon information and belief, in approximately 2010, Gearbox Software

 acquired certain rights to the Duke Nukem games from Apogee. Neither Apogee nor

 Gearbox advised Mr. Prince about the transaction, nor inquired about his intellectual

 property.

        20.    In October 2016, Mr. Prince learned that Gearbox was about to release a

 game called Duke Nukem 3D World Tour.

        21.    Incredibly, the electronic files for the music within Duke Nukem 3D World

 Tour include text specifically stating that Mr. Prince owns the copyright to the music and

 has reserved all rights to the music’s use. Yet Gearbox incorporated the music into the

 game without ever contacting Mr. Prince and without clearing the rights expressly

 mentioned in the electronic files.



                                             5

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 5 of 10 PageID #: 5
           22.   On October 6, 2016, before Gearbox released the game, Mr. Prince

 provided his address to Mr. Pitchford and informed him that Gearbox would need to send

 him royalties if it wanted to use Mr. Prince’s music.

           23.   Mr. Pitchford said Mr. Prince would be “taken care of.” Mr. Pitchford’s

 promise was false when made.

           24.   Before Mr. Prince contacted Mr. Pitchford, no one from Gearbox had

 attempted to contact Mr. Prince regarding the use of his music, sound effects, or edited

 dialog.

           25.   Mr. Pitchford began stringing Mr. Prince along with promises that he

 would “do right” by Mr. Prince and that Mr. Prince would be “taken care of.” The

 promises were false when made.

           26.   Before Gearbox Software and Gearbox Publishing released Duke Nukem

 3D World Tour, Mr. Pitchford received a copy of the 1996 license between Apogee and

 Mr. Prince. He thus knew that Mr. Prince owned the rights to the music and that Apogee

 had to pay Mr. Prince for its use of the music in prior versions of Duke Nukem games.

           27.   Gearbox Software and Gearbox Publishing released Duke Nukem 3D World

 Tour on October 11, 2016. The game included music composed by Mr. Prince that is

 covered by his copyright registration and sound effects and edited dialog created by Mr.

 Prince. The electronic files for the music within Duke Nukem 3D World Tour include

 text specifically stating that Mr. Prince owns the copyright to the music.

           28.   Eventually, Mr. Pitchford directed Steve Gibson, the Head of Publishing at

 Gearbox Publishing, to make sure that Gearbox was “doing right” by Mr. Prince.

                                              6

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 6 of 10 PageID #: 6
          29.    Despite receiving a direct order to “do right” by Mr. Prince, Gearbox

 proceeded to distribute infringing copies of Duke Nukem 3D World Tour without

 obtaining a license and without compensating Mr. Prince.

          30.    During discussions with Mr. Prince, Mr. Pitchford and Mr. Gibson

 acknowledged that Mr. Prince owned the music he had composed for Duke Nukem 3D

 and that Gearbox used in Duke Nukem 3D World Tour.

          31.    Mr. Pitchford adopted the position that Gearbox had no license to use Mr.

 Prince’s music.

          32.    Mr. Gibson acknowledged that Gearbox had no license to use Mr. Prince’s

 music.

          33.    Upon information and belief, Gearbox did nothing to clear the rights to Mr.

 Prince’s music before incorporating it into Duke Nukem 3D World Tour.

          34.    Eventually, it became evident that Gearbox had no intention of paying Mr.

 Prince for its use of his music. Mr. Prince advised Gearbox that it could either pay him

 according to the terms of the original license for the music or remove his music from the

 game. Mr. Pitchford and Gearbox did neither.

 III.     Valve knowingly distributed infringing copies.

          35.    Valve distributed copies of Duke Nukem 3D World Tour.

          36.    In January 2018, Mr. Prince sent a Notice of Exclusive Right Infringement

 to Valve, notifying Valve of his copyright, his address in Tennessee, and Gearbox’s

 infringement.



                                               7

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 7 of 10 PageID #: 7
          37.   The United States Postal Service delivered the Notice of Exclusive Right

 Infringement to Valve on February 8, 2018.

          38.   Valve did not respond to the Notice.

          39.   Valve continued distributing copies of Duke Nukem 3D World Tour after

 February 8, 2018.

          40.   The copies of Duke Nukem 3D World Tour that Valve distributed after

 February 8, 2018, contained Mr. Prince’s copyrighted music.

                                     Causes of Action

 I.       Copyright Infringement (Gearbox Software and Gearbox Publishing).

          41.   Bobby Prince is the owner of copyrighted music.

          42.   Gearbox Software and Gearbox Publishing copied and used Mr. Prince’s

 copyrighted music without permission and created and distributed infringing copies of

 Duke Nukem 3D World Tour.

          43.   Before Gearbox Software and Gearbox Publishing distributed infringing

 copies of Mr. Prince’s music, they knew, or at least should have known, Mr. Prince

 owned the rights to the music. They specifically knew, among other things, that Mr.

 Prince owned the rights to the music, knew they had no license for the music, and knew

 that their predecessor, Apogee, had been required to pay Mr. Prince royalties to use the

 music.

          44.   Gearbox Software and Gearbox Publishing proceeded without a license and

 their infringing conduct is willful. Defendants acted willfully and with reckless disregard

 for Mr. Prince’s rights when they incorporated his music into Duke Nukem 3D World

                                              8

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 8 of 10 PageID #: 8
 Tour, when they created and distributed infringing copies, and when they failed to

 remove his music from the games.

        45.    In the alternative, if Defendants are claiming they have a license to use the

 music at issue (they do not), they have failed to pay Mr. Prince anything under the terms

 of the license.    Their total failure to pay Mr. Prince renders the license void or,

 alternatively, Gearbox is liable for unpaid royalties.

 II.    Vicarious and Contributory Copyright Infringement (Mr. Pitchford).

        46.    Mr. Pitchford had the right and ability to control whether Gearbox Software

 and Gearbox Publishing used Mr. Prince’s music, whether they compensated him, and

 whether they distributed infringing copies of Duke Nukem 3D World Tour. He benefited

 from the sales of the infringing goods.

        47.    Also, Mr. Pitchford knew of his companies’ copyright infringement,

 materially contributed to and induced the unlawful use of Mr. Prince’s copyrighted

 music, and derived a benefit from the infringement.

        48.    Mr. Pitchford’s conduct was willful, knowing, or at least reckless.

 III.   Copyright Infringement (Valve).

        49.    Valve distributed copies of Duke Nukem 3D World Tour.

        50.    Valve continued doing so after receiving actual notice that Duke Nukem 3D

 World Tour infringed Mr. Prince’s copyright.

        51.    Valve is liable for willful copyright infringement.

        WHEREFORE, Mr. Prince demands a trial by jury and requests a judgment in his

 favor and an award of maximum statutory damages per infringement or, alternatively,

                                               9

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 9 of 10 PageID #: 9
  actual damages and Defendants’ profits, plus attorneys’ fees and costs, as well as an

  injunction prohibiting Defendants from infringing his copyrights.



                                           Respectfully submitted,


                                           /s/ Tim Harvey
                                           Tim Harvey (21509)
                                           Keane A. Barger (33196)
                                           Riley Warnock & Jacobson, PLC
                                           1906 West End Avenue
                                           Nashville, Tennessee 37203
                                           (615) 320-3700
                                           (615) 320-3737 (facsimile)
                                           tharvey@rwjplc.com
                                           kbarger@rwjplc.com
                                           Attorneys for Mr. Prince




                                             10

Case 3:19-cv-00380-HSM-HBG Document 1 Filed 09/27/19 Page 10 of 10 PageID #: 10
